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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

GIBSON, INC., a Delaware corporation,              )
                                                   )
                                                   )
        Plaintiff/Counterclaim-Defendant,          ) Case No. 4:19-cv-00358-ALM
                                                   )
vs.                                                )
                                                   )
ARMADILLO DISTRIBUTION                             )
ENTERPRISES, INC.; CONCORDIA                       )
INVESTMENT PARTNERS, LLC,                          )
                                                   )
        Defendant/Counterclaim-Plaintiff           )
                                                   )
DOES 1 through 10,                                 )
                                                   )
         Defendants.                               )

      PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION TO PRE-ADMIT
         PREVIOUSLY EXCLUDED “SELF-AUTHENTICATING” EXHIBITS

        Defendants’ Motion to Pre-Admit Previously Excluded “Self-Authenticating” Exhibits is

premised on the unsworn statement in the Motion that all “[t]hese exhibits are ‘printed material

purporting to be’ periodicals.’” [See Dkt. No. 685.] Thus, Defendants argue that, because there is a

date somewhere on the exhibit, “there should be no dispute that these exhibits are self-authenticated”

pursuant to Fed. R. Evid. 902(6). [See Motion at Dkt. No. 685, 4.] The Motion does not cite any

testimony that the exhibits are in fact periodicals. In fact, the word periodical does not appear once

on Defendants’ 270-page Exhibit List.

        Fed. R. Evid. 902(6) includes as self-authenticating evidence newspapers and periodicals,

which it defines as“[p]rinted material purporting to be a newspaper or periodical.” The committee

notes to the rule explains that “the likelihood of forgery of newspapers or periodicals is slight indeed.

Hence no danger is apparent in receiving them.” See Fed. R. Evid. 902. Note to Paragraph (6). As §

9:35 Newspapers and Periodicals, 5 Federal Evidence § 9:35 (4th ed.) explains:
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                 Even the smallest newspaper or periodical consists of extensive printed matter,
                 which fact alone would discourage a would-be forger . . .. Likewise, if forgery
                 were attempted it would likely be easily detected. Copies of the genuine article
                 should be available for purposes of comparison, and publishers and printers
                 are likely to be only too willing to testify, and to be in a position to testify
                 convincingly, in cases of actual forgery.

Id.

         Even when “there is little chance that the publication is a forgery[,] Rule 902 contains no catch-

all or residual provision, such as that set forth in Fed. R. Evid. 807 for hearsay exceptions; in order

for the publication to qualify as a self-authenticating document, it must fit within the express

provisions of the rule.” Goguen ex rel. Est. of Goguen v. Textron, Inc., 234 F.R.D. 13, 18 (D. Mass. 2006)

(emphasis added). “Thus, by failing to authenticate the document by [testimony, Defendants force]

the Court to explore the outer limits of the definition of ‘periodical’ under Rule 902(6).’” See Id. at 17.

         Periodicals typically comprise magazines, trade publications, and scientific and academic

journals with weekly, monthly, or quarterly circulation. See e.g., Snyder v. Whittaker Corp., 839 F.2d 1085,

1089 (5th Cir.1988) (magazine articles); see also Stahl v. Novartis Pharmaceuticals Corp., 283 F.3d 254, 271

(5th Cir. 2002) (medical journals); see also Oxford English Dictionary Online (draft rev. Dec. 2005), at

http://www.oed.com (defining periodical as “a magazine or journal issued at regular or stated intervals

(usually weekly, monthly, or quarterly)”). Moreover, such publications typically include “news or deal

[ ] with matters of current interest in any particular sphere.” Oxford English Dictionary Online, (taken

from second print ed.1989) (defining “journal”). The United States Postal Service uses a similar

definition of “periodical” to determine mailing rates.1



1
  The USPS Domestic Mail Manual, incorporated by reference into 39 C.F.R. § 111.1, includes the
following criteria to determine whether a publication qualifies for the discounted “Periodicals” mailing
rate: For Periodicals purposes, [a] periodical publication or periodical is one published at a stated
frequency with the intent to continue publication indefinitely, with these characteristics:
a. The continuity of the periodical must show from issue to issue. Continuity is shown by serialization
of articles or by successive issues carrying the same style, format, theme, or subject matter.

                                                     2
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        Without any testimony, Defendants now seek to pre-admit hundreds of exhibits in bulk under

their –take our word for it— assertion these are all self-authenticating periodicals. [See Motion at

Dkt. No. 685, 1.] Defendants’ only argument as to why these exhibits qualify as periodicals under

Rule 902(6) is that a date appears somewhere on the underlying document. Defendants do not and

cannot identify any other evidence that the exhibits qualify under Rule 902(6) nor can Defendants

point to any testimony establishing any of these exhibits can be characterized as newspapers or

periodicals. To be sure, the word “periodical” does not appear once on Defendants’ 270-page Exhibit

List. [See Exhibit “A” to Schuettinger Dec.]     None of the exhibits Defendants seek to pre-admit

without any authentication constitute magazines, trade publications, and scientific and academic

journals with weekly, monthly, or quarterly circulation.

        Defendants break their promise with the Court that these are all periodicals with the very first

page on the very first proposed exhibit, DTX-0084. There, the Court will see screenshots from a

third-party website Ibanez.com along with docket entry No. 226-19 from 2014 lawsuit involving

Gibson v John Hornby Skewes from the Central District of California. In fact, the first four exhibits on

Defendants’ pre-admit list—DTX-0336-339—contain screenshots to links from the www.ibanez.com

website that are no longer active. [See Exhibit “B” to Schuettinger Dec. that contains a pdf searchable

form of list of exhibits Defendants now seek to preadmit.] Within the first dozen or so exhibits,

Defendants are pulling documents from such websites as preservationsound.com (DTX-0346),

ctfassets.net (DTX -383-384), and imgur.com (DTX-415), where there has been no testimony in the




b. The primary purpose of the periodical must be the transmission of information.
c. The content of the periodical may consist of original or reprinted articles on one topic or many
topics, listings, photographs, illustrations, graphs, a combination of advertising and nonadvertising
matter, comic strips, legal notices, editorial material, cartoons, or other subject matter.
d. The primary distribution of each issue must be made before that of each succeeding issue.
See Goguen, 234 F.R.D. at 18.

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case regarding these websites, let alone whether they qualify as newspapers or periodicals under Fed.

R. Evid. 902(6) or contain any markers of authenticity and reliability.

        For example, DTX-415 purports to be a D’Agostino 1982 Brochure and Price List taken from

the website address https://imgur.com/a/LfsKy. Notably, brochures and price lists do not constitute

periodicals, but as the Court can see from the proposed exhibit, Defendants are asking the Court to

pre-admit in bulk exhibits whose contents were created or supplied by unknown witnesses from

unknown websites that contain pictures taken by unknown people.




[See DTX-0415, 2.] There is no Federal Rule of Evidence that says whatever you find on the internet

is self-authenticating. See Damas v. Texas Health Presbyterian Flower Mound, No. 420CV00686ALMCAN,

2022 WL 831813, at *7 (E.D. Tex. Jan. 28, 2022), report and recommendation adopted, No. 4:20-CV-

686, 2022 WL 828921 (E.D. Tex. Mar. 18, 2022), aff'd, No. 22-40205, 2023 WL 128949 (5th Cir. Jan.

9, 2023) (sustaining objection to printouts from various websites); see also Mendoza v. Detail Solutions,

LLC, No. 3:10–CV–2436–G, 2012 WL 6115947, at *1 (N.D. Tex. Dec. 10, 2012) (rejecting

unauthenticated internet printouts offered in support of summary judgment because the materials did

not comply with Federal Rule of Evidence 901); see also Fraserside IP LLC v. Netvertising, Ltd., 902



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F.Supp.2d 1165, 1180 n.9 (N.D. Iowa 2012) (“Private web-sites, however, are not self-authenticating,”

and must be authenticated by producing “some statement or affidavit from someone with knowledge

of the website.”).

        Furthermore, the lion’s share of the exhibits appears to come from the private website Vintaxe

and vary in form from things like copies of flyers, pricelist, dealer sheets, mailers, catalogs, and

brochures. [See Exhibit B.] Again, the word “periodical” does not appear once to describe any of

their exhibits. Defendants have not made any argument regarding how these items constitute printed

material purporting to be either a newspaper or periodical pursuant to Fed. R. Evid. 902(6). See Goguen

ex rel. Est. of Goguen v. Textron, Inc., 234 F.R.D. 13, 17 (D. Mass. 2006) (“Rule 902 contains no catch-all

or residual provision, such as that set forth in Fed. R. Evid. 807 for hearsay exceptions; in order for

the publication to qualify as a self-authenticating document, it must fit within the express provisions

of the rule.”)

        Gibson is ready to discuss these issues at the pre-trial conference, and Gibson respectfully

requests this Court deny the Motion to Preadmit.

                 Respectfully submitted this 4th day of March 2025.

                                                 /s/Andrea E. Bates
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                               CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing document was served on all counsel

of record via the Court’s CM/ECF electronic filing system on March 4, 2025.



                                                             /s/Andrea E. Bates
                                                              Andrea E. Bates




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